CASE 0:22-mj-00316-HB Doc. 11 Filed 04/26/22 Page 1 of 6
CASE 0:22-mj-00316-HB Doc. 11 Filed 04/26/22 Page 2 of 6
CASE 0:22-mj-00316-HB Doc. 11 Filed 04/26/22 Page 3 of 6
CASE 0:22-mj-00316-HB Doc. 11 Filed 04/26/22 Page 4 of 6
CASE 0:22-mj-00316-HB Doc. 11 Filed 04/26/22 Page 5 of 6
CASE 0:22-mj-00316-HB Doc. 11 Filed 04/26/22 Page 6 of 6
